                         UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


IN RE: James Gregory Younkin, Jr.                    CASE NO: 19-12761

               Debtor(s)                             CHAPTER 13

                                                     JUDGE PRICE SMITH



                               AMENDMENT COVER SHEET

       Amendment(s) to the following petition, list(s), schedule(s), or statement(s) are
transmitted herewith:

   1. Form 122-C1 is amended to include gross pension income.
   2. Form 122C-2 is amended to re-calculate disposable income.



                                                     Respectfully submitted,

                                                     BALENA LAW FIRM LLC

                                                     /s/ William J. Balena
                                                     _______________________________
                                                     William J. Balena, MEMBER (0019641)
                                                     Attorney for Debtor(s)
                                                     30400 Detroit Road, Suite 106
                                                     Westlake, OH 44145
                                                     (440) 365-2000
                                                     (866) 936-6113- Fax
                                                     docket@ohbksource.com




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                        UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


IN RE: James Gregory Younkin, Jr.                    CASE NO: 19-12761

               Debtor(s)                             CHAPTER 13

                                                     JUDGE PRICE SMITH


                                      CERTIFICATION

       Pursuant to Federal Rule of Bankruptcy Procedure 1009(a), I certify that notice of the

filing of the amendment(s) listed above has been given this date in the manner stated to any and

all entities affected by the amendment as follows:

Via ECF:

       Lauren Helbling, Ch. 13 Trustee (via-ecf at ch13trustee@ch13cleve.com)

       William J. Balena (via-ecf at ​docket@​ohbksource​.com​)

       Zachary E. Fowler on behalf of creditor Firelands Federal Credit Union via ecf at
       fowlerz@firelandsfcu.org

       Steven H. Patterson on behalf of Creditor Freedom Mortgage Corporation
       ohbk@rslegal.com​, ​rsbkecfbackup@gmail.com​;​ reisenfeld@ecf.inforuptcy.com

Via Regular Mail:

       James Younkin, Jr., 5710 Whispering Pines Place, Lorain, OH 44053




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Date: July 24, 2019                          Respectfully submitted,

                                             BALENA LAW FIRM LLC

                                             /s/ William J. Balena
                                             _______________________________
                                             William J. Balena, MEMBER (0019641)
                                             Attorney for Debtor(s)




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  Fill in this information to identify your case:                                                                 Check as directed in lines 17 and 21:
                                                                                                                  According to the calculations required by
  Debtor 1           James Gregory Younkin Jr.
                    __________________________________________________________________                            this Statement:
                      First Name             Middle Name               Last Name

  Debtor 2            ________________________________________________________________                                 1. Disposable income is not determined
  (Spouse, if filing) First Name             Middle Name               Last Name                                          under 11 U.S.C. § 1325(b)(3).

                                          ______________________
  United States Bankruptcy Court for the: Northern District of Ohio District of __________                        ✔    2. Disposable income is determined
                                                                                                                          under 11 U.S.C. § 1325(b)(3).
  Case number         19-12761
                      ___________________________________________
   (If known)                                                                                                          3. The commitment period is 3 years.
                                                                                                                  ✔    4. The commitment period is 5 years.

                                                                                                                  ✔ Check if this is an amended filing

 Official Form 122C–1
 Cha pt e r 1 3 St a t e m e nt of Y our Curre nt M ont hly I nc om e
 a nd Ca lc ula t ion of Com m it m e nt Pe riod                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Pa rt 1 :        Ca lc ula t e Y our Ave ra ge M ont hly I nc om e

1. What is your marital and filing status? Check one only.
    ✔    Not married. Fill out Column A, lines 2-11.
         Married. Fill out both Columns A and B, lines 2-11.

   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
   bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
   August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
   the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
   from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                    Column A               Column B
                                                                                                    Debtor 1               Debtor 2 or
                                                                                                                           non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
   payroll deductions).                                                                                 0.00
                                                                                                       $____________           0.00
                                                                                                                              $__________

3. Alimony and maintenance payments. Do not include payments from a spouse if
   Column B is filled in.                                                                               0.00
                                                                                                       $____________           0.00
                                                                                                                              $__________

4. All amounts from any source which are regularly paid for household expenses of
   you or your dependents, including child support. Include regular contributions from
   an unmarried partner, members of your household, your dependents, parents, and
   roommates. Include regular contributions from a spouse only if Column B is not filled
   in. Do not include payments you listed on line 3.                                                    0.00
                                                                                                       $___________            0.00
                                                                                                                              $__________


5. Net income from operating a business, profession, or              Debtor 1        Debtor 2
   farm
   Gross receipts (before all deductions)                            $______
                                                                      0.00           $______
                                                                                      0.00

   Ordinary and necessary operating expenses                     –$______
                                                                   0.00            – $______
                                                                                      0.00
                                                                                                Copy
   Net monthly income from a business, profession, or farm
                                                                     $______
                                                                      0.00           $______
                                                                                      0.00   here          0.00
                                                                                                          $_________           0.00
                                                                                                                              $_________

6. Net income from rental and other real property                    Debtor 1      Debtor 2

   Gross receipts (before all deductions)                            $______
                                                                      0.00           $______
                                                                                      0.00

   Ordinary and necessary operating expenses                    – $______
                                                                    0.00           – $______
                                                                                      0.00
                                                                                                Copy
   Net monthly income from rental or other real property             $______
                                                                       0.00          $______
                                                                                      0.00   here          0.00
                                                                                                          $_________          0.00
                                                                                                                             $__________


Official Form 122C–1               Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                               page 1

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 Debtor 1           James   Gregory Younkin Jr.
                     _______________________________________________________                                                                                           19-12761
                                                                                                                                                Case number (if known)_____________________________________
                     First Name           Middle Name                  Last Name



                                                                                                                                            Column A                              Column B
                                                                                                                                             Debtor 1                             Debtor 2 or
                                                                                                                                                                                  non-filing spouse

7. Interest, dividends, and royalties                                                                                                          0.00
                                                                                                                                              $____________                            0.00
                                                                                                                                                                                      $__________

8. Unemployment compensation                                                                                                                   0.00
                                                                                                                                              $____________                            0.00
                                                                                                                                                                                      $__________

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ...................................

        For you .........................................................................           0.00
                                                                                                   $_____________
        For your spouse ...........................................................                 0.00
                                                                                                   $_____________

9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                                                     1,313.00
                                                                                                                                              $____________                            0.00
                                                                                                                                                                                      $__________

10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments
     received as a victim of a war crime, a crime against humanity, or international or
     domestic terrorism. If necessary, list other sources on a separate page and put the
     total on line 10c.
             VA Benefits                                                                                                                       3,057.13
                                                                                                                                              $_____________                          0.00
                                                                                                                                                                                     $___________
       10a. __________________________________________________________________
                                                                                                                                               0.00
                                                                                                                                              $_____________                          0.00
                                                                                                                                                                                     $___________
       10b. __________________________________________________________________

       10c. Total amounts from separate pages, if any.                                                                                     + $____________
                                                                                                                                              0.00                               + $__________
                                                                                                                                                                                    0.00

11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                         4,370.13
                                                                                                                                               $____________                +         0.00
                                                                                                                                                                                     $___________            =    4,370.13
                                                                                                                                                                                                                 $________
                                                                                                                                                                                                                 Total average
                                                                                                                                                                                                                 monthly income




Pa rt 2 :         De t e rm ine H ow t o M e a sure Y our De duc t ions from I nc ome

12. Copy your total average monthly income from line 11. ......................................................................................................................                                 4,370.13
                                                                                                                                                                                                              $_____________
13. Calculate the marital adjustment. Check one:
     ✔    You are not married. Fill in 0 in line 13d.
          You are married and your spouse is filing with you. Fill in 0 in line 13d.
          You are married and your spouse is not filing with you.
          Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you
          or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or
          your dependents.
          In lines 13a-c, specify the basis for excluding this income and the amount of income devoted to each purpose. If
          necessary, list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 on line 13d.
          13a. _______________________________________________________________________                                                             $___________
          13b. _______________________________________________________________________                                                             $___________
          13c. _______________________________________________________________________                                                         + $___________
          13d. Total .................................................................................................................              0.00
                                                                                                                                                   $___________                Copy here.            13d.   ─____________
                                                                                                                                                                                                              0.00

14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                                     14.        4,370.13
                                                                                                                                                                                                              $ __________


15. Calculate your current monthly income for the year. Follow these steps:

     15a. Copy line 14 here                ......................................................................................................................................................... 15a.         4,370.13
                                                                                                                                                                                                             $ ____________

            Multiply line 15a by 12 (the number of months in a year).                                                                                                                                        x 12
     15b. The result is your current monthly income for the year for this part of the form.                                                                                                       15b.
                                                                                                                                                                                                              52,441.56
                                                                                                                                                                                                             $___________


 Official Form 122C–1                         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                   page 2

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 Debtor 1           James   Gregory Younkin Jr.
                     _______________________________________________________                                                                                     19-12761
                                                                                                                                          Case number (if known)_____________________________________
                     First Name           Middle Name                 Last Name




16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                                   OH
                                                                                              _________

     16b. Fill in the number of people in your household.                                         1
                                                                                              _________


     16c. Fill in the median family income for your state and size of household. ............................................................................. 16c.                                       49,624.00
                                                                                                                                                                                                         $___________
             To find a list of applicable median income amounts, go online using the link specified in the separate
             instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a.         Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                  11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).

     17b.   ✔ Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                  11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2).
                  On line 39 of that form, copy your current monthly income from line 14 above.

Pa rt 3 :            Ca lc ula t e Y our Com m it m e nt Pe riod U nde r 1 1 U .S.C. § 1 3 2 5 (b)(4 )


18. Copy your total average monthly income from line 11. ...................................................................................................................... 18.
                                                                                                                                                                                                           4,370.13
                                                                                                                                                                                                         $__________
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
     that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s
     income, copy the amount from line 13d.
     If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                        19a.    ─    0.00
                                                                                                                                                                                                         $__________

     Subtract line 19a from line 18.
                                                                                                                                                                                              19b.
                                                                                                                                                                                                          4,370.13
                                                                                                                                                                                                         $__________


20. Calculate your current monthly income for the year. Follow these steps:

     20a. Copy line 19b.. ................................................................................................................................................................... 20a.        4,370.13
                                                                                                                                                                                                         $___________

             Multiply by 12 (the number of months in a year).                                                                                                                                        x 12
     20b. The result is your current monthly income for the year for this part of the form.                                                                                                 20b.          52,441.56
                                                                                                                                                                                                         $___________


     20c. Copy the median family income for your state and size of household from line 16c. ..........................................................
                                                                                                                                                                                                           49,624.00
                                                                                                                                                                                                         $___________

21. How do the lines compare?

          Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period is
          3 years. Go to Part 4.
     ✔    Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
          check box 4, The commitment period is 5 years. Go to Part 4.


 Pa rt 4 :         Sign Be low

        By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

               /s/ James Gregory Younkin Jr.
              ___________________________________________________                                                      ____________________________________
             Signature of Debtor 1                                                                                     Signature of Debtor 2


                      07/24/2019
             Date _________________                                                                                    Date _________________
                     MM / DD         / YYYY                                                                                    MM / DD         / YYYY



        If you checked 17a, do NOT fill out or file Form 122C–2.
        If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




 Official Form 122C–1                         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                            page 3

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 Fill in this information to identify your case:

 Debtor 1           James Gregory Younkin Jr.
                   __________________________________________________________________
                     First Name               Middle Name             Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name             Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Ohio District of __________

 Case number         19-12761
                     ___________________________________________
 (If known)
                                                                                                                  ✔ Check if this is an amended filing


Official Form 122C–2
Cha pt e r 1 3 Ca lc ula t ion of Y our Disposa ble I nc om e                                                                                   4/19

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C–1).
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).



Pa rt 1 :        Ca lc ula t e Y our De duc t ions from Y our I nc om e



    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
    answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
    this form. This information may also be available at the bankruptcy clerk’s office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some
   of your actual expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from
   income in lines 5 and 6 of Form 122C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13
   of Form 122C–1.

   If your expenses differ from month to month, enter the average expense.

   Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.




    5.   The number of people used in determining your deductions from income
         Fill in the number of people who could be claimed as exemptions on your federal income tax return,
         plus the number of any additional dependents whom you support. This number may be different
         from the number of people in your household.                                                                           1



    National Standards            You must use the IRS National Standards to answer the questions in lines 6-7.



    6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
         Standards, fill in the dollar amount for food, clothing, and other items.                                                         727.00
                                                                                                                                          $__________



    7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
         fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories─people who are
         under 65 and people who are 65 or older─because older people have a higher IRS allowance for health care costs. If your
         actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.




Official Form 122C─2                                   Chapter 13 Calculation of Your Disposable Income                                                page 1


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Debtor 1       James   Gregory Younkin Jr.
                _______________________________________________________                                                                               19-12761
                                                                                                                               Case number (if known)_____________________________________
                 First Name         Middle Name                Last Name




           People who are under 65 years of age
                                                               55.00
           7a. Out-of-pocket health care allowance per person $______________
           7b. Number of people who are under 65                                        1
                                                                                      X ______

                                                                                       55.00                         Copy line        55.00
           7c. Subtotal. Multiply line 7a by line 7b.                                 $______________                               $___________
                                                                                                                     7c here

            People who are 65 years of age or older
                                                               114.00
           7d. Out-of-pocket health care allowance per person $______________

           7e. Number of people who are 65 or older                                   X ______
                                                                                                                     Copy line
           7f. Subtotal. Multiply line 7d by line 7e.                                  0.00
                                                                                      $______________                                 0.00
                                                                                                                                   + $__________
                                                                                                                     7f here


                                                                                                                                     55.00            Copy total
      7g. Total. Add lines 7c and 7f. ..........................................................................................    $___________
                                                                                                                                                      here   .........7g.
                                                                                                                                                                             55.00
                                                                                                                                                                            $________

  Local
                         You must use the IRS Local Standards to answer the questions in lines 8-15.
  Standards

  Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy purposes
  into two parts:
      Housing and utilities – Insurance and operating expenses

      Housing and utilities – Mortgage or rent expenses

  To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
  specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

  8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in                                                     480.00
      the dollar amount listed for your county for insurance and operating expenses.                                                                                        $_______

  9. Housing and utilities – Mortgage or rent expenses:

           9a. Using the number of people you entered in line 5, fill in the dollar amount                                          848.00
                 listed for your county for mortgage or rent expenses.                                                             $__________

           9b. Total average monthly payment for all mortgages and other debts secured by
                your home.
                 To calculate the total average monthly payment, add all amounts that are
                 contractually due to each secured creditor in the 60 months after you file for
                 bankruptcy. Next divide by 60.

               Name of the creditor                                                   Average monthly
                                                                                      payment


                               Freedom Mortgage
             ______________________________________                                     1,007.56
                                                                                       $__________
             ______________________________________                                    $__________

             ______________________________________                                     0.00
                                                                                  +    $__________
                                                                                                                   Copy line          1,007.56
           9b.Total average monthly payment .........................                   1,007.56
                                                                                       $__________                                 ─ $____________     Repeat this amount
                                                                                                                   9b here                             on line 33a.

     9c. Net mortgage or rent expense.
           Subtract line 9b (total average monthly payment) from line 9a (mortgage or rent                                          0.00
                                                                                                                                   $____________      Copy 9c here           0.00
                                                                                                                                                                            $________
           expense). If this number is less than $0, enter $0.

  10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                                   0.00
                                                                                                                                                                            $________
      the calculation of your monthly expenses, fill in any additional amount you claim.
           Explain why:       ________________________________________________________________
                              ________________________________________________________________


Official Form 122C─2                                             Chapter 13 Calculation of Your Disposable Income                                                                      page 2


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Debtor 1       James   Gregory Younkin Jr.
                _______________________________________________________                                                         19-12761
                                                                                                         Case number (if known)_____________________________________
                First Name     Middle Name          Last Name




  11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

                 0. Go to line 14.
           ✔     1. Go to line 12.
                 2 or more. Go to line 12.


  12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
      expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                       191.00
                                                                                                                                                     $_______


  13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each
      vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you
      may not claim the expense for more than two vehicles.


           Vehicle 1         Describe        2016 Cadillac SRX
                                             _______________________________________________________________________
                             Vehicle 1:
                                             FMV: KBB
                                             _______________________________________________________________________


           13a. Ownership or leasing costs using IRS Local Standard                                          508.00
                                                                                                            $____________
                                                                                                 13a.
           13b. Average monthly payment for all debts secured by Vehicle 1.
                 Do not include costs for leased vehicles.
                 To calculate the average monthly payment here and on line 13e,
                 add all amounts that are contractually due to each secured
                 creditor in the 60 months after you file for bankruptcy. Then divide
                 by 60.

                    Name of each creditor for Vehicle 1              Average monthly
                                                                     payment

                                 Ally Financial Inc.
                  _________________________________                       627.00
                                                                        $__________
                  _________________________________                 +     0.00
                                                                        $__________
                                                                                               Copy                            Repeat this amount
                               Total average monthly payment
                                                                         627.00                here
                                                                                                            ─ $___________
                                                                                                                627.00         on line 33b.
                                                                        $__________

           13c. Net Vehicle 1 ownership or lease expense                                                                         Copy net Vehicle
                 Subtract line 13b from line 13a. If this number is less than $0, enter $0. .............       0.00
                                                                                                              $___________       1 expense here
                                                                                                                                                       0.00
                                                                                                                                                      $_______



           Vehicle 2         Describe        _______________________________________________________________________
                             Vehicle 2:
                                             ________________________________________________________________________

           13d. Ownership or leasing costs using IRS Local Standard...................................        508.00
                                                                                                            $___________

           13e. Average monthly payment for all debts secured by Vehicle 2.
                  Do not include costs for leased vehicles.

                    Name of each creditor for Vehicle 2              Average monthly
                                                                     payment
                   _________________________________                      0.00
                                                                        $__________
                   _________________________________                +     0.00
                                                                        $__________
                                                                                               Copy                            Repeat this amount
                                Total average monthly payment                                                  0.00
                                                                                                            ─ $___________
                                                                          0.00
                                                                        $__________            here                            on line 33c.


           13f. Net Vehicle 2 ownership or lease expense                                                                         Copy net Vehicle
                                                                                                               0.00
                                                                                                              $__________        2 expense here         0.00
                                                                                                                                                       $_______
                 Subtract line 13e from 13d. If this number is less than $0, enter $0. .................


  14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
      Transportation expense allowance regardless of whether you use public transportation.
                                                                                                                                                     0.00
                                                                                                                                                    $_______


  15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
      deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
      more than the IRS Local Standard for Public Transportation.
                                                                                                                                                      0.00
                                                                                                                                                     $_______



Official Form 122C─2                                  Chapter 13 Calculation of Your Disposable Income                                                          page 3


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Debtor 1       James   Gregory Younkin Jr.
                _______________________________________________________                                                  19-12761
                                                                                                  Case number (if known)_____________________________________
                  First Name   Middle Name         Last Name




  Other Necessary                  In addition to the expense deductions listed above, you are allowed your monthly expenses for the
  Expenses                         following IRS categories.

  16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-
      employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
      your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12                                               73.60
                                                                                                                                                                       $_______
      and subtract that number from the total monthly amount that is withheld to pay for taxes.
      Do not include real estate, sales, or use taxes.

  17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
      union dues, and uniform costs.
      Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.                                              0.00
                                                                                                                                                                       $_______

  18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
      together, include payments that you make for your spouse’s term life insurance.
      Do not include premiums for life insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life
      insurance other than term.                                                                                                                                        0.00
                                                                                                                                                                       $_______

  19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
      agency, such as spousal or child support payments.                                                                                                                0.00
                                                                                                                                                                       $_______
      Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

  20. Education: The total monthly amount that you pay for education that is either required:
           as a condition for your job, or                                                                                                                              0.00
                                                                                                                                                                       $_______
           for your physically or mentally challenged dependent child if no public education is available for similar services.

  21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
      Do not include payments for any elementary or secondary school education.                                                                                         0.00
                                                                                                                                                                       $_______
  22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is
      required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
      savings account. Include only the amount that is more than the total entered in line 7.
                                                                                                                                                                        45.00
                                                                                                                                                                       $_______
      Payments for health insurance or health savings accounts should be listed only in line 25.

  23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
      you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
      service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it
      is not reimbursed by your employer.                                                                                                                            + $________
                                                                                                                                                                        0.00
      Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment
      expenses, such as those reported on line 5 of Form 22C-1, or any amount you previously deducted.

  24. Add all of the expenses allowed under the IRS expense allowances.
      Add lines 6 through 23.
                                                                                                                                                                      1,571.60
                                                                                                                                                                     $__________

  Additional Expense                    These are additional deductions allowed by the Means Test.
  Deductions                            Note: Do not include any expense allowances listed in lines 6-24.

  25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
      insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
      dependents.
            Health insurance                                    0.00
                                                               $__________

            Disability insurance                                0.00
                                                               $__________
            Health savings account                         +    0.00
                                                               $__________
            Total                                               0.00
                                                               $__________     Copy total here   .................................................................      0.00
                                                                                                                                                                       $________

            Do you actually spend this total amount?
            No. How much do you actually spend?
                                                           $__________
      ✔     Yes

  26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
      continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your                                      0.00
                                                                                                                                                                       $_______
      household or member of your immediate family who is unable to pay for such expenses. These expenses may include
      contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

  27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of                                            0.00
                                                                                                                                                                       $_______
      you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
      By law, the court must keep the nature of these expenses confidential.
Official Form 122C─2                                Chapter 13 Calculation of Your Disposable Income                                                                              page 4


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Debtor 1      James   Gregory Younkin Jr.
               _______________________________________________________                                                                                     19-12761
                                                                                                                                    Case number (if known)_____________________________________
                First Name          Middle Name                Last Name



  28. Additional home energy costs. Your home energy costs are included in your non-mortgage housing and utilities allowance
      on line 8.
      If you believe that you have home energy costs that are more than the home energy costs included in the non-mortgage                                                       0.00
                                                                                                                                                                                $_______
      housing and utilities allowance, then fill in the excess amount of home energy costs.
      You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
      claimed is reasonable and necessary.

  29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $170.83*
      per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
                                                                                                                                                                                 0.00
                                                                                                                                                                                $_______
      elementary or secondary school.
      You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
      reasonable and necessary and not already accounted for in lines 6-23.
      * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.

  30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher
                                                                                                                                                                                 0.00
                                                                                                                                                                                $_______
      than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the
      food and clothing allowances in the IRS National Standards.
      To find a chart showing the maximum additional allowance, go online using the link specified in the separate
      instructions for this form. This chart may also be available at the bankruptcy clerk’s office.
      You must show that the additional amount claimed is reasonable and necessary.


  31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
      instruments to a religious or charitable organization. 11 U.S.C. § 548(d)3 and (4).                                                                                      0.00
                                                                                                                                                                            + _________
      Do not include any amount more than 15% of your gross monthly income.

  32. Add all of the additional expense deductions.                                                                                                                          0.00
                                                                                                                                                                            $___________
      Add lines 25 through 31.


  Deductions for Debt Payment

  33. For debts that are secured by an interest in property that you own, including home mortgages,
      vehicle loans, and other secured debt, fill in lines 33a through 33g.
      To calculate the total average monthly payment, add all amounts that are contractually due to each
      secured creditor in the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                           Average monthly
                                                                                                                                           payment
           Mortgages on your home

           33a. Copy line 9b here................................................................................................             1,007.56
                                                                                                                                            $___________

           Loans on your first two vehicles

           33b. Copy line 13b here. ............................................................................................              627.00
                                                                                                                                            $___________

           33c. Copy line 13e here. ............................................................................................              0.00
                                                                                                                                            $___________

           33d. List other secured debts:

           Name of each creditor for other                         Identify property that secures                    Does payment
           secured debt                                            the debt                                          include taxes
                                                                                                                     or insurance?

                                                                                                                      q      No              0.00
                                                                                                                                            $___________
                 ____________________________ _____________________________                                           q      Yes
                                                                                                                      q      No              0.00
                                                                                                                                            $___________
                 ____________________________ _____________________________                                           q      Yes
                                                                                                                      q      No             0.00
                                                                                                                                         + $___________
                 _____________________________ _____________________________
                                                                                                                             Yes
                                                                                                                                                               Copy total
           33e. Total average monthly payment. Add lines 33a through 33d. ......................................                             1,634.56
                                                                                                                                            $___________                        1,634.56
                                                                                                                                                                               $__________
                                                                                                                                                               here




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Debtor 1      James   Gregory Younkin Jr.
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                                                                                                                     Case number (if known)_____________________________________
               First Name        Middle Name              Last Name




  34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary for
      your support or the support of your dependents?


           No. Go to line 35.
      ✔    Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep possession of
                your property (called the cure amount). Next, divide by 60 and fill in the information below.

                  Name of the creditor                    Identify property that                           Total cure                 Monthly cure amount
                                                          secures the debt                                 amount

                  Freedom Mortgage5710 ____________________________
                  __________________________ Whispering Pines Place                                    0.00
                                                                                                     $__________          ÷ 60 =         0.00
                                                                                                                                        $___________


                  Ally Financial Inc.
                  __________________________                    2016 Cadillac SRX
                                                          ____________________________                 0.00
                                                                                                     $__________          ÷ 60 =         0.00
                                                                                                                                        $___________


                  __________________________              ____________________________                 0.00
                                                                                                     $__________                    0.00
                                                                                                                          ÷ 60 = + $___________
                                                                                                                                                            Copy
                                                                                                                              Total      0.00
                                                                                                                                        $___________        total      0.00
                                                                                                                                                                      $_______
                                                                                                                                                            here


  35. Do you owe any priority claims   such as a priority tax, child support, or alimony                                that are past due as of the
      filing date of your bankruptcy case? 11 U.S.C. § 507.
      ✔    No. Go to line 36.
           Yes. Fill in the total amount of all of these priority claims. Do not include current or ongoing
                priority claims, such as those you listed in line 19.

                  Total amount of all past-due priority claims. ...........................................................        0.00
                                                                                                                                  $______________      ÷ 60            0.00
                                                                                                                                                                      $_______



  36. Projected monthly Chapter 13 plan payment                                                                                    2,343.00
                                                                                                                                  $______________

      Current multiplier for your district as stated on the list issued by the Administrative Office
      of the United States Courts (for districts in Alabama and North Carolina) or by the
      Executive Office for United States Trustees (for all other districts).
                                                                                                                              x    5.5%
                                                                                                                                   ______
      To find a list of district multipliers that includes your district, go online using the link specified
      in the separate instructions for this form. This list may also be available at the bankruptcy
      clerk’s office.
                                                                                                                                                        Copy
                                                                                                                                   128.87
                                                                                                                                  $______________       total          128.87
                                                                                                                                                                      $_______
      Average monthly administrative expense                                                                                                            here

  37. Add all of the deductions for debt payment. Add lines 33g through 36.
                                                                                                                                                                     1,763.43
                                                                                                                                                                    $__________




  Total Deductions from Income

  38. Add all of the allowed deductions.

     Copy line 24, All of the expenses allowed under IRS expense allowances ........................                               1,571.60
                                                                                                                                  $______________

     Copy line 32, All of the additional expense deductions .......................................................                0.00
                                                                                                                                  $______________

     Copy line 37, All of the deductions for debt payment ..........................................................               1,763.43
                                                                                                                               + $______________
                                                                                                                                                        Copy
     Total deductions                                                                                                              3,335.02
                                                                                                                                  $______________       total    3,335.02
                                                                                                                                                                $__________
                                                                                                                                                        here




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                  _______________________________________________________                                                                    19-12761
                                                                                                                      Case number (if known)_____________________________________
                    First Name      Middle Name             Last Name


Pa rt 2 :     De t e rm ine Y our Disposa ble I nc om e U nde r 1 1 U .S.C. § 1 3 2 5 (b)(2 )

 39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
     Statement of Your Current Monthly Income and Calculation of Commitment Period. ........................................................................         4,370.13
                                                                                                                                                                    $_______

 40. Fill in any reasonably necessary income you receive for support for dependent children.
     The monthly average of any child support payments, foster care payments, or disability
     payments for a dependent child, reported in Part I of Form 122C-1, that you received in                                       0.00
                                                                                                                                  $____________
     accordance with applicable nonbankruptcy law to the extent reasonably necessary to be
     expended for such child.

 41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
     employer withheld from wages as contributions for qualified retirement plans, as specified                                    0.00
                                                                                                                                  $____________
     in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
     specified in 11 U.S.C. § 362(b)(19).


 42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here ...............                              3,335.02
                                                                                                                                   $____________


 43. Deduction for special circumstances. If special circumstances justify additional
     expenses and you have no reasonable alternative, describe the special circumstances and
     their expenses. You must give your case trustee a detailed explanation of the special
     circumstances and documentation for the expenses.

      Describe the special circumstances                                                 Amount of expense

            ______________________________________________________                          $___________

            ______________________________________________________
                                                                                            $___________
            ______________________________________________________                       + $___________
                                                                                                                   Copy here
                                                                        Total                0.00
                                                                                            $___________
                                                                                                                             +       0.00
                                                                                                                                  $ _____________


                                                                                                                                                    Copy total
 44. Total adjustments. Add lines 40 through 43. ........................................................................           3,335.02
                                                                                                                                   $_____________
                                                                                                                                                    here
                                                                                                                                                                    3,335.02
                                                                                                                                                                 – $___________


 45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                  1,035.11
                                                                                                                                                                 $__________




 Pa rt 3 :           Cha nge in I nc om e or Ex pe nse s


 46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form
     have changed or are virtually certain to change after the date you filed your bankruptcy petition and during
     the time your case will be open, fill in the information below. For example, if the wages reported increased
     after you filed your petition, check 22C-1 in the first column, enter line 2 in the second column, explain why
     the wages increased, fill in when the increase occurred, and fill in the amount of the increase.

       Form                  Line     Reason for change                                        Date of change               Increase or     Amount of change
                                                                                                                            decrease?

            22C─1                                                                                                              Increase
                             ____      _______________________________                         ____________                                 $____________
            22C─2                                                                                                              Decrease

            22C─1                                                                                                              Increase
                             ____      _______________________________                         ____________                                 $____________
            22C─2                                                                                                              Decrease


            22C─1                                                                                                              Increase
                             ____      _______________________________                         ____________                                 $____________
            22C─2                                                                                                              Decrease


            22C─1                                                                                                              Increase
                             ____      _______________________________                         ____________                                 $____________
            22C─2                                                                                                              Decrease




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                _______________________________________________________                                                 19-12761
                                                                                                 Case number (if known)_____________________________________
                First Name            Middle Name   Last Name




Pa rt 4 :         Sign Be low




By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


    /s/ James Gregory Younkin Jr.
    ___________________________________________________                       __________________________________
    Signature of Debtor 1                                                     Signature of Debtor 2


          07/24/2019
    Date _________________                                                    Date _________________
            MM / DD          / YYYY                                                MM / DD      / YYYY




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